1    TERRY A. DAKE, LTD.
     P.O. Box 26945
2    Phoenix, Arizona 85068-6945
     Telephone: (602) 710-1005
3    tdake@cox.net

4    Terry A. Dake - 009656

5    Attorney for Trustee

6                       IN THE UNITED STATES BANKRUPTCY COURT

7                            FOR THE DISTRICT OF ARIZONA

8    In re:                           )    In Chapter 7 Proceedings
                                      )
9    LEIF MICHAEL ANDERSEN;           )    Case No. 2:21-BK-06102-MCW
                                      )
10                          Debtor.   )
                                      )
11
                            MOTION TO EXTEND §727 DEADLINE
12                              AND NOTICE OF BAR DATE

13              The trustee moves this Court to extend the deadline for the

14   trustee to file an objection to the discharge of the debtor and the

15   debtor’s marital community with the debtor’s non-filing spouse.      The

16   trustee's motion is more fully set forth in and is supported by the

17   following Memorandum Of Points And Authorities.

18              DATED October 11, 2022

19                                    TERRY A. DAKE, LTD.

20                                    By /s/ TD009656
                                        Terry A. Dake
21                                      P.O. Box 26945
                                        Phoenix, Arizona 85068-6945
22                                      Attorney for Trustee

23                      MEMORANDUM OF POINTS AND AUTHORITIES

24              The debtor has not yet turned over to the trustee a 2019

25   federal tax refund of $5,756.00.     The trustee is informed and believes

26   that the IRS is sending those funds to the debtor.

27              In light of these outstanding issues, the trustee requests

28   that the deadline for the trustee to object to the discharge of the
1    debtor and the debtor’s marital community with the debtor’s non-filing
2    spouse be extended through and including January 16, 2023.
3              WHEREFORE, the    trustee prays   for   the entry   of   an order
4    extending the time for the trustee to object to the discharge of the
5    debtor and the debtor’s marital community with the debtor’s non-filing
6    spouse as set forth herein.
7              DATED October 11, 2022.
8                                    TERRY A. DAKE, LTD.
9                                    By /s/ TD009656
                                       Terry A. Dake
10                                     P.O. Box 26945
                                       Phoenix, Arizona 85068-6945
11
                    NOTICE OF MOTION TO EXTEND §727 DEADLINE
12
               The trustee has filed the above motion to extend the deadline
13   for filing complaints under 11 U.S.C. §727(a).
14             Your rights may be affected. You should read these papers
     carefully and discuss them with your attorney, if you have one in this
15   bankruptcy case.   If you do not have an attorney, you may wish to
     consult one.
16
               If you do not want the court to grant the trustee’s motion,
17   or if you want the court to consider your views on the trustee’s
     motion, then on or before November 14, 2022, you or your attorney must
18   file with the Court a written response requesting a hearing on the
     trustee’s motion. File your response with the Court at:
19
                                LOCATION:
20                              Clerk
                                United States Bankruptcy Court
21                              230 N. First Ave.
                                Ste. 101
22                              Phoenix, Arizona 85003-1706
23
               If you mail your response to the Court, you must mail it
24   early enough so the Court will receive it on or before the date stated
     above.
25

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1              You must also mail or e-mail1 a copy to the attorney for the
     trustee at:
2
                                        Terry A. Dake, Esq.
3                                       Terry A. Dake, Ltd.
                                        P.O. Box 26945
4                                       Phoenix, Arizona 85068-6945
                                        tdake@cox.net
5
               If you or your attorney do not take these steps, the Court
6    may decide that you do not oppose the trustee’s motion and may enter
     an order that grants the trustee’s motion and extends the time for the
7    trustee to object to your discharge.
8    Copy e-mailed/mailed on October 11, 2022 to:
9    ANTHONY R. MONTOYA
     9820 N. Central Avenue#131
10   Phoenix, AZ 85020
     602-999-7239
11   Email: anthonyrmontoya@gmail.com

12   Melissa Andersen
     4304 E CAMPBELL AVE
13   APT # 1057
     PHOENIX, AZ 85018
14
      /s/ TD009656
15

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27             E-mailed papers must be in pdf format.

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